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                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS

LNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )
                                               )       Case No.   22-1154
                                               )
Defendant No. 1:                               )
Contents of account with User ID               )
XXXX5 190 seized on or about                   )
May 5,2022,                                    )
                                               )
Defendant No.2:                                )
Contents of account with User ID               )
XXXX7082 seized on or about                    )
May 5,2022.                                    )
                                               )
                      Defendants               )

                        COMPLAINT FOR FORFEITURE IN REM

       Plaintiff, United States of America, by and through its attomeys, Duston J. Slinkard,

United States Attomey for the District of Kansas, and Annette Gumey, Assistant United States

Attomey, brings this complaint and alleges as follows in accordance with Supplemental Rule

G(2) ofthe Federal Rules of Civil Procedure:

                                   NATURE OF THE ACTION

       1   .   This is an in rem action to forfeit and condemn to the use and benefit ofthe

United States of America, the above-captioned defendants for violations of 18 U.S.C. $$ 371,

1030, 1956(a)(1)(B)(i) and 1956(h).

                                   THE DEFENDANTS IN REM

       2.      The defendants are the contents oftwo virtual crlrency accounts that were seized

from a virtual currency exchange by the Federal Bureau of Investigation (FBI) on or about May

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5,2022. The defendants            are currently in the custody   ofthe IrBI.

                                       JURISDICTION AND VENUE

          3.         Plaintiff brings this action in rem in its own right to forfeit and condemn the

defendants pursuant to 18 U.S.C. $$ 981(a)(1)(A) and (C).

         4.          This Court hasjurisdiction over an action commenced by the United States under

28 U.S.C.     $   1345, and over an action for forfeiture under 28 U.S.C. $ 1355(a).

         5.          Venue is proper in this district pursuant to 28 U.S.C. $ 1355(b)(i), because

acts or omissions giving rise to the forfeiture of the defendants occurred in this district.

                                         BASIS FOR FORT'EITURE

         6.         The defendants are subject to forfeiture pursuant to l8 U.S.C. $ 981(a)(l(A)

because they constitute properfy involved in a transaction or attempted transaction in violation              of

18 U.S.C. $$ 1956        (a)(i)(B)(i) and 1956   (h).   The defendants are also subject to forfeiture

pursuant   to     18 U.S.C. $   981(a\1)(C) because they constitute or are derived from proceeds

traceable to violations     of   18 U.S.C. $$ 371 and 1030.

         7.         Supplemental Rule G(2)(f) requires this complaint to state suffrciently detailed

facts to support a reasonable beliefthat the govemment will be able to meet its burden ofproofat

trial.   Such facts and circumstances supporting the seizure and forfeiture        ofthe defendants     are

contained in Exhibit A which is attached hereto and incorporated by reference.

         8.         As a result ofthe foregoing, the defendants are liable to condemnation and

forfeiture to the United States for its use, in accordance with 18 U.S.C. $ 981.




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                                      CLAIM FOR RELIEF

        WHEREFORE, the United States prays that the Court issue a warrant for the arrest       ir
rem of Defendants No. 1 and 2; that notice ofthis action be given to all persons who reasonabiy

appear to be potential claimants of interests in the defendants; that the defendants be forfeited

and condemned to the United States of America; that the    plaintiffbe awarded its costs and

disbursements in this action; and for such other and further reliefas this Court deems proper and

just.

        The United States hereby requests that trial ofthe above-entitled matter be held in the

City of Wichita, Kansas.

                                                      Respectfu lly submitted,

                                                      Duston J. Slinkard
                                                      U      States Attomev

                                                     (:./nfl_UQVata-z-
                                                      ANNETTE GURNEY #1I
                                                      Assistant United Stales
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                                          DECLARATION

       I, Kelly G. Sallee, am a Special Agent with the Federal Bureau of Investigation (FBI)

       I have read tlle contents of the foregoing Complaint for Forfeiture and the exhibits

thereto, and the statements contained therein are true to the best of my knowledge and belief.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on this
                            qb     day   of Ju.ly,2022




                                                               G.
                                                         Special Agent
                                                         FBI




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                 AFFIDAVIT IN SUPPORT OF COMPLAINT FOR FORFEITURE

        I, Kelly G. Sallee, being duly swom, depose and state as follows:

 I      INTRODUCTION

         1.         I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been

since September      7,2003. I am cunently assigned to the FBI Kansas City Division's Cyber Crimes

Task Force. As a Special Agent with the FBI, I investigate criminal and national security related

computer intrusion matters involving botnets, malicious software, the theft of personal

identification information, and other computer-based fraud. Since joining the FBI, I have been

involved in several criminal and national security investigations involving computer intrusions and

virtual currencies. I have received FBI training in computer technology and computer-based fraud.

I am also   a   Certified Public Accountant and a Certified Fraud Examiner and have attended yearly

Continuing Professional Education for those certifications that involved training for virtual

culTencles.

        2.          This affidavit is in support ofa complaint for forfeiture against the following property:

                    A.  Contents of account with User ID XXXX5190 ("VCE Account A"), seized
                    from a virhral currency exchange on or about May 5,2022.

                    B. Contents of account with User ID XXXX7082 ("VCE Account B"), seized
                    from a virnral currency exchange on or about May 5,2022.

        3.          The investigation detailed herein is being conducted by the FBI Kansas City

Division's Cyber Crimes Task Force. The facts sst forth herein are intended to show that there is

probable cause to believe that the two virtual currency accounts described in paragraph 2 contain

proceeds of a computer intrusion conspiracy committed in violation        of l8 U.S.C. $$ 371 and

1030, and constitute property involved in a money laundering conspiracy in violation        of   18


U.s.C. $$ tes6(a)(1)(B)(i) and 1es6(h).
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 II.   BACKGROUND R"EGARDING VIRTUAL CURRENCY

          4.        Virtual currencies are digital tokens ofvalue circulated over the Intemet as

substitutes for traditional fiat currency.

          5.        Virtual currency addresses are the digital locations to which such currencies are

sent and received.     A virtual currency address is analogous to a bank account number and is

represented as a string of letters and numbers.

          6.        Virtual currency exchanges are online trading and/or storage platforms for virhral

currencies, such as Bitcoin (BTC). These exchanges store their customers' virtual currency in

online virtual currency accounts.

         7.         Some virtual currencies, including BTC, publicly record all their transactions on

what is known as a blockchain. The blockchain is a permanent public ledger containing a

historical record of every transaction utilizing that blockchain's technology. The blockchain

records every virtual currency address that has ever received that virtual curency and can be

used to calculate balances for each virtual currency address. There are different blockchains      for

different types o I virtual currencies.

         8.        Blockchain explorers are online tools that operate as a blockchain search engine

allowing users the ability to search for and review transactional data for any address on a

particular blockchain. The blockchain explorer uses a database to arrange and present the data to

a user   in   a searchable format.


         9.        Law enforcement can sometimes identity information about the owner of a

particular virhral currency address by analyzing the blockchain (e.9., the BTC blockchain). The

analysis can also reveal additional addresses controlled by the same individual or entity.




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III.    OVERVIEW OI'THE COMPUTER INTRUSION

        A.       Ransomware Attack on Kansas Medical Provider

        10.      Officials working on behalf of   a medical   provider located in the District of

Kansas advised the FBI that on or around May 4,2021, the provider became the victim           ofa

ransomware attack. On May 4,2021, the Kansas medical provider's employees discovered they

could not access files. Instead, attempts to open files resulted in receipt of an error message

stating that the file format had changed.

        i   1.   The Kansas medical provider's employees were unable to access the PACS

server, which is used for x-rays and diagnostic imaging; the EDM server, which is used         for

scanning data; the intemet server; and the sleep lab server.

        12.      The Kansas medical provider's information technology team assessed the impact

of the incident and determined that at least these four physical servers had been encrypted using

ransomware. Based on my training and experience, I know that ransomware is a type of

malware that is designed to block access to a computer system until a ransom is paid, generally

through virtual currency. The Kansas medical provider and the FBI determined that the malware

software was named "maui.exe".

        13.      The Kansas medical provider's team found a ransom note on one ofthe affected

systems. The ransom note stated that payment would need to be made to have the files restored.

The note demanded a payment of 2.0 BTC be sent to an address herein referred to as

"Ransomware BTC Address No. 1." If payment was not made in forty-eight hours, the note

stated that the price would double.

        14.      The FBI has confirmed that on May 11,2021, a payment for I .66 BTC was made

on the Kansas medical provider's behalf to Ransomware BTC Address No. 1.



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            15.     The FBI has confirmed that on May 17,2021, a payment for 0.11 BTC was made

on the Kansas medical provider's behalfto the same BTC address, Ransomware BTC Address

No. 1. The ransomware co-conspirators subsequently provided the Kansas medical provider the

decryption keys to decrypt and access their systems and files.

            16.     I have probable cause to believe that the 1.77 BTC (which at the time of transfer

was worth approximately $100,000) that the Kansas medical provider paid to Ransomware BTC

Address No. 1 constitutes proceeds of a computer intrusion committed in violation of 18 U.S.C.

$$ 371 and 1030.

            17.     As part of its investigation, the FBI determined that the maui.exe software was a

previously unseen form of malware, meaning that it had not previously been reported to law

enforcement. On July 6,2022,the FBI, the Cybersecurity and Infrastructure Security Agency,

and the Department       of Treasury announced that the maui.exe ransomware was being used by

North Korean state-sponsored cyber actors to target healthcare organizations. The

announcement stated that because those organizations provide services critical to human life and

health, they zre more willing to pay ransoms.

            18.     On August 12,2021, as part   ofthe investigation into the users ofthe maui.exe

ransomware, the FBI obtained records from a virtual currency exchange for the virtual curency

exchange's customer accounts which the BTC blockchain showed had received deposits from

Ransomware BTC Address No. 1 (the address where the Kansas medical provider sent the I .66 BTC

ard   0.1   I BTC   ransom payments on May 11 and 17,2021).

            19.     According to the virtual currency exchange's records, on May 12,2021, a 1.66

BTC transfer from Ransomware BTC Address No. 1 was sent to a BTC address associated with

VCE Account A.



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        20.        According to the virnral currency exchange's customer records, VCE Account A

belongs to user ID XXXX5190.

        21.        Based on my training and experience, I know that ransomware actors     will

sometimes move virtual currency funds from the virhral currency address listed in the ransom

note to conceal their possession and use of those funds. I, therefore, have probable cause to

believe that the financial transaction involving the movement of the BTC from Ransomware

BTC Address No.       1   to VCE Account A, which contained proceeds from the computer intrusion

against the Kansas medical provider, constitutes a violation   of   18 U.S.C. $$ 1956   (a)(1XB)(i)

and 1956(h).

       22.         The FBI also obtained records from the virtual currency exchange, which showed

that on June 25,2021, a 0.21 BTC transfer from Ransomware BTC Address No.1 was sent to a

BTC deposit address associated with VCE Account B.

       23.         According to the virtual currency exchange's customer records, VCE Account B

belongs to user ID XXXX7082.

       24.         Based on my training and experience, I have probable cause to believe that the

financial transaction involving the movement of the BTC from Ransomware BTC address

Ad&ess No.     1   to VCE Account B, which contained proceeds from the computer intrusion

against the Kansas medical provider, constitutes a violation   of   18 U.S.C. $$ 1956   (aXIXBXD

and 1956(h).

       25.         The virtual currency exchange's records further revealed that VCE Accounts     A

and B had frequently logged in from the same Hong Kong-based IP address, providing further

evidence (besides the tracing ofthe ransomware payments) that the two accounts are connected

to one another.



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       B.      Ransomware Attack on Colorado Medical Provider

       26.     The FBI's investigation revealed that on    April 1,2022,VCF Account B received

an additional I .32 BTC from a U.S.-based virtual crrrency exchange.

       27.     By tracing the April   1   payment into VCE Account B back to its source, the FBI's

investigation revealed that another U.S.-based medical provider, this time located in Colorado,

was hacked and its files were encrypted using the maui.exe software. Specifically, an incident

response company confirmed to the FBI that, on March 30,2022, the company made a payment

of2.54 BTC on behalfofthe Colorado medical provider to a BTC address provided by the

hacker: "Ransomware BTC Address       2."    Based on my training and experience, this 2.54 BTC

(which at the time of transfer was worth approximately $120,000) constitutes proceeds ofa

computer intrusion conspiracy committed in violation of 18 U.S.C. $$ 371 and 1030.

       28.    According to the blockchain analysis and records received from the virtual

currency exchange, this 2.54 BTC was moved the same day (March 30, 2022) ftom Ransomware

BTC Address No. 2 to "Ransomware BTC Address No. 3. Then on April 1,2022,the above-

referenced 1.32 of tttts 2.54 BTC was moved from Ransomware BTC Address 3 to VCE

Account B.

       29.    Because the maui.exe software is new and relatively rare, and because the ransom

payment was also deposited into VCE Account B, there is probable cause to believe that the

Coiorado medical provider was a victim of the same ransomware conspiracy that had victimized

the Kansas medical provider.

       30.    Based on my training and experience, there is probable cause to believe that the

financial transaction involving the movement of the 1.32BTC from Ransomware BTC Address




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 No. 3 to VCE Account B, which contained proceeds ofthe computer intrusion against the

 Colorado medical provideq constitutes a violation      of   18 U.S.C. $$ 1956(a)(1)(B)(i) and 1956(h)

        31.        On or about May 5,2022,VCE Account             A was seized pursuant to a seizure

 warrant issued out of the District ofKansas.

        32.        On or about May 5,2022,YCE Account B was seized pursuant to a seizure

warrant issued out ofthe District of Kansas.

IV.     CONCLUSION

        33.       Based upon the foregoing, probable cause exists to believe that the contents         of
VCE Accounts A and B identiflred i n paraEraph 2 contain proceeds traceable to a computer

intrusion conspiracy committed in violation of 18 U.S.C. $0 371 and 1030 against U.S. medical

providers. Based on these crimes, the seized virtual currency is subject to forfeiture pursuant to

l8 u.S.C.   $   e8l(a)(l)(c).

        34.       Additionally, based upon the foregoing, probable cause exists to believe that the

contents ofthe VCE Accounts       A and B identified in paragraph 2 constitute property involved in

transactions in violation   of18 U.S.C. $$ 1956(a)(l )(B)(i) and 1956(h), and, therefore, the seized

virtual currency is subject to forfeiture pursuant to l8 U.S.C. $ 981(a)(l)(e).

                                                                        di%g4%-
                                                                    rcatt&fuiTtee
                                                                    Special Agent
                                                                    Federal Bureau of Investigation


                  Swom before me this   L5   day   ofJuty,2022


                                                                    N       Public

                         My commission expires
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